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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

ENOCH SMITH,                                   )
                                               )
          PLAINTIFF,                           )
                                               )
v.                                             )
                                               )
                                               )       CASE NO. 2:23-CV-02114
HIGHLAND COMMUNITY                             )
COLLEGE, DEBORAH                               )
FOX, BRYAN DORREL,                             )       JURY TRIAL DEMANDED
ERIC INGMIRE, EILEEN                           )
GRONNIGER, AND                                 )
JEFFREY HANCOCK,                               )
                                               )
          DEFENDANTS.                          )


                                FIRST AMENDED COMPLAINT

          PLAINTIFF, Enoch Smith, by and through undersigned Counsel, brings this action against

the above-named Defendants for violations of his federal constitutional, statutory and common

law rights, and in support of the same hereby states and alleges the following facts and causes of

action:

                                 PRELIMINARY STATEMENT

          1.     Plaintiff brings this action under 42 U.S.C. § 1983 for multiple violations of his

federal constitutional and statutory rights, including claims for unlawful discrimination and

retaliation based on race in violation of the Fourteenth Amendment to the United States

Constitution, 42 U.S.C. §§ 1981 and 1983, Title VI of the Civil Rights Act of 1964, 42 U.S.C. §

2000d et seq., which prohibits discrimination on the basis of race, color, and national origin in

programs and activities receiving federal financial assistance, for racial discrimination in violation
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in employment in violation of Title VII of the Civil Rights Act, 42 U.S.C. §2000d, and, for civil

rights conspiracy pursuant to 42 U.S.C. 1985(3).

                                  JURISDICTION AND VENUE

        2.      This Court has original jurisdiction of the federal questions presented herein

pursuant to 28 U.S.C. §§ 1331, which confers on district courts subject matter jurisdiction over all

civil actions arising under the Constitution, laws, and treaties of the United States.

        3.      This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1343, which

gives district courts original jurisdiction over: (a) any civil action authorized by law to be brought

by any person to redress the deprivation, under color of any state law, statute, ordinance,

regulation, custom, or usage, of any right, privilege, or immunity secured by the Constitution of

the United States or by any Act of Congress providing for equal rights of citizens or of all persons

within the jurisdiction of the United States; and (b) any civil action to recover damages or to secure

equitable relief under any Act of Congress providing for the protection of the civil rights.

        4.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), since all Defendants

reside or resided in this district and the events giving rise to the claims occurred in this district.

                                           THE PARTIES

        5.      Plaintiff Enoch Smith (“Coach Smith” or “Plaintiff”) is a resident of Illinois and

formerly served as an assistant football coach at HCC for the 2020-21 season, until his employment

was terminated in November 2021, following the events alleged below.

        6.      Defendant Highland Community College (“HCC”) is a community college located

in Highland, Kansas, and established and existing under the laws of the State of Kansas and

pursuant to the Kansas Community College Act, K.S.A. §§ 71–120 et seq. & 71–702. HCC is a

member of the National Junior College Athletic Association (“NJCAA”) and competes in the


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Kansas Jayhawk Community College Conference (“KJCCC” or “Jayhawk Conference”), which is

comprised of two-year schools across the State.

       7.      HCC is a “person” within the meaning of 42 U.S.C. § 1983.

       8.      HCC is and has been at all relevant times a recipient of federal funding.

       9.      Defendant Deborah Fox (“Fox”) is the President of HCC and has served in this

position since August 2019. At all relevant times, Fox was acting under color of law. She is also

sued in her individual capacity.

       10.     Defendant Bryan Dorrel (“Dorrel”) is HCC’s former Athletic Director. Dorrel had

authority to formulate policies and implement practices related to student-athlete recruitment,

conduct, and eligibility. At all relevant times, Defendant Dorrel was acting under color of law. He

is also sued in his individual capacity.

       11.     Defendant Eric Ingmire (“Ingmire”) is the Vice President of Student Services at

HCC and served as its Title IX Coordinator. As such, Ingmire has authority over student

discipline, student complaints and had knowledge of and authority to redress the racially

discriminatory treatment of Black student-athletes, as well as Plaintiff and others. At all relevant

times, Defendant Ingmire was acting under color of state law. He is sued in his individual capacity.

       12.     Defendant Eileen Gronniger (“Gronniger”) was HCC’s Director of Human

Resources. She was responsible for handling employee complaints, including those involving

unlawful discrimination. All relevant times, Gronniger was acting under color of state law. She is

sued in her individual capacity.

       13.     Defendant Jeffrey Hancock (“Coach Hancock”) was HCC’s Head Football Coach.

He was responsible for all aspects of management of HCC’s football program, including but not

limited to supervision of Plaintiff.



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                                  FACTUAL ALLEGATIONS

          14.   Coach Smith is a 1999 graduate of HCC, where he also played football but

remained active as an alum. On October 16, 2021, Coach Smith was recognized by Highland

Community College Alumni Association for community excellence by receiving the Distinguished

Alumni Award. The same year gave the commencement speech at Highland’s graduation.

          15.   In January 2020, HCC offered Coach Smith the position of Assistant Football

Coach for the Defensive Line and Academic Coordinator for the entire football program under

Head Coach Hancock. On information and belief, Coach Smith became the only Black employee

at HCC.

          16.   In reliance on HCC’s job offer, Coach Smith left his business and relocated from

Chicago to Highland, where he hoped to pursue a career in collegiate athletics coaching football.

          17.   Coach Christopher “Jake” Landoll was employed by HCC as the Assistant Head

Coach and Defensive Coordinator/Linebacker Coach.

          18.   From the beginning of his employment, Plaintiff observed Coach Landoll abuse

and harass Black team members, including being treated differently than their peers. These acts

included, among other things, the unjustified berating of players, micro-aggressions like throwing

a player’s mouthguard into the dirt and using the racial epithet “sand-nigger” to refer to a Muslim

player.

          19.   On or about October 1, 2020, Plaintiff was told by Coach Landoll, in front of Coach

Gilbert White, to attend Fort Scott High School to recruit student athletes. He stated, “They think

we are racist. I am going to send you to their high school to show them we are not racist.” Plaintiff

made a verbal and written complaint to Coach Hancock yet no disciplinary action was taken

against Coach Landoll to Plaintiff’s knowledge.



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       20.     HCC administrators as well as Coach Hancock were aware of Coach Landoll’s

misconduct and discriminatory behavior. But rather than stop it, they enabled it, allowing Coach

Landoll to continue harassing players and make enumerable disrespectful remarks directed toward

Plaintiff, making excuses for his misconduct.

       21.     During his tenure at HCC, Coach Smith personally observed numerous other

ongoing acts of racial discrimination and harassment by HCC football coaches and administrators

directed at Black student-athletes, employees, and others on an ongoing basis.

       22.     Coach Smith voiced his concerns numerous times to Coach Hancock and Athletic

Director Dorrel, who dismissed them.

       23.     Dorrel also made frequent dismissive comments to Plaintiff denying there is racial

tension at HCC, and telling Plaintiff that past discrimination lawsuits were frivolous and settled

for nuisance value.

       24.     While employed by HCC, Plaintiff was also subjected to similar racial

discrimination and was also retaliated against for speaking out for Black student-athletes.

       25.      During this time, numerous Black student-athletes confided in Coach Smith acts

of racial harassment by Hancock, Landoll and Dorrel. Such incidents include but are not limited

to Dorrel ordering Coach Smith to conduct criminal background checks only on Black prospective

student athletes, coaches required to reprimand and discipline Black players differently than White

players in a disparate fashion, as well as physical and mental abuse.

       26.     On or about October 12, 2021, Coach Smith met with President Fox to again

express his concerns about the mistreatment of several specific players. Fox pressed Coach Smith

to identify the players and that it would be difficult to investigate claims if she did not know who




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they were. Plaintiff asked Fox to meet with the entire team to address the issue. Fox declined to

do so.

         27.      On or about October 13, 2021, during practice, several Black players had enough

and confronted Landoll about his unacceptable behavior. Landoll’s reaction was to storm of the

field claiming he was ill. Later that day, Landoll sent a group text and called a meeting of those

players “who don’t think I’m racist” at his home. President Fox, Coach Bradley Oh, and Coach

Christopher Watkins attended the meeting.

         28.      Upon information and belief, most players in attendance at Landoll’s home were

White.

         29.      On or about October 14, 2021, Plaintiff had another meeting with Defendant Fox

at her request. During that meeting, Fox acknowledged Plaintiff’s previous concerns. She

admitted she attended the meeting the previous night at Coach Landoll’s house. At some point

during the meeting, Fox, in reference to a Black player who Fox thought was stirring up dissent,

made the bizarre statement to Plaintiff that “Hitler was a great leader.”

         30.      HCC had neither investigated nor taken in actions in response to Plaintiff’s repeated

complaints about Landoll on behalf of Black players.

         31.      On or about October 21, 2021, Deborah Fox emailed Coach Smith with a

“clarification” telling Coach Smith that HCCs’ legal counsel “believes we cannot go further in an

investigation with students remaining anonymous. The College does not have a Silent Witness

reporting where students can report anonymously. In this instance, the information known to us is

not sufficient to investigate further.”

         32.      True to its word, HCC never investigated student claims of racial harassment and

discrimination.



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        33.    On or about October 26, 2021, Coach Smith submitted his own complaint to HCC.

Gronninger acknowledged receiving his discrimination complaint submitted the same day.

Gronninger stated that “[A]fter reviewing your complaint, the decision has been made to have it

investigated by an impartial outside investigator. The report has been turned over to Demetrius

Peterson, senior counsel for the law firm Husch Blackwell, LLC. Mr. Peterson specializes in labor

law.”

        34.    She further advised that “you can expect to be contacted by Mr. Peterson, however,

he also has other cases he's working on, and we do not know how quickly he will begin his

investigation. He is the report and your contact information and will contact you as soon as the

schedule allows.”

        35.    Mr. Peterson never contacted Plaintiff and, upon information and belief, did not

take any action to investigate or address his complaints.

        36.    Coach Smith also filed a complaint of racial discrimination against HCC with the

Office of Civil Rights (“OCR”) on or about November 11, 2021, detailing Defendant’s unlawful

conduct directed against Plaintiffs and Black student-athletes, and in particular acts of racial

harassment and discrimination by Hancock, Landoll and Dorrel.

        37.    Throughout the fall of 2021, Coach Smith tried repeatedly to persuade HCC to

investigate players’ complaints regarding their treatment and atmosphere of racism around the

coaching staff and the school generally.

        38.    HCC did not simply ignore Coach Smith’s complaints; they retaliated against him

for making them.




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       39.     While employed at HCC, Plaintiff’s performance was exemplary. Hancock, Dorrel

and others told Plaintiff that he had promising career in college coaching and would have their

strong support. They offered glowing references.

       40.     In November 2021, Hancock resigned and HCC players gathered a petition to urge

the school to hire Plaintiff as his replacement. HCC never responded to his application for that

position.

       41.     Coach Smith’s employment was terminated in November 2021.

       42.     HCC never investigated Plaintiffs’ complaints during his employment. Several

months later, on March 1, 2022, Gronniger sent the following email to Plaintiff: “[w]hen I last

visited with you at our meeting in December, I came away with the impression that you were not

interested in moving forward with an internal investigation beyond that point. If you do wish to

continue, I will need to know so that we can follow up. In the interest of a timely resolution, please

respond by Friday, March 4, 2022, and let me know if you wish to participate in the College’s

process in response to your complaint or not.”

       43.     By that time, Coach Smith had not been an HCC employee for nearly four months.

       44.     Gronniger was obviously trying to make a record that Coach Smith “didn’t appear

interested” in making an employee complaint when still employed, by the empty offer to “follow

up” long after his employment ended.

       45.     As of the filing of this Amended Complaint, Plaintiff’s picture and biography was

wiped from HCC’s athletics website as a retaliatory act. In a prior suit filed against HCC (BJ

Smith et al v. HCC et al, Case No. 2:22-CV-02048, D.Kan.), it similarly erased those Plaintiffs’

contributions to HCC’s women’s basketball program and only restored the coach’s pictures and




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biographies when forced. It appears again HCC has done the same vindictive and petty attempt at

revision of history in this case.

        46.     Plaintiff timely filed his administrative charge of discrimination with the EEOC,

which issued his right-to-sue letter.

                                              COUNT I

                      (Race Discrimination under Title VII Against HCC)

        47.     Plaintiff incorporates the allegations in Paragraphs 1-46 as if fully set forth herein.

        48.     Plaintiff’s race was a determinative or motivating factor in Defendants’ actions.

        49.     There was no legitimate, nonretaliatory reason for Defendants’ conduct and their

actions were transparently pretextual and with no factual or legal basis.

        50.     Defendants took adverse employment action against Plaintiffs, including

reassigning job duties, demotion and ultimately termination of his employment. The motivating

factor behind the unlawful acts alleged herein was to discriminate on the basis of race.

        51.     The Individual Defendants were each personally involved in the intentionally

discriminatory acts alleged herein and acted with malice.

        52.     The Individual Defendants each had the authority but failed to investigate or redress

claims of racial discrimination by Plaintiff and others.

        53.     Plaintiff has fully exhausted available administrative remedies.

        54.     Defendants acted with malice and reckless indifference to Plaintiff’s right to be free

from racial discrimination, entitling Plaintiff to an award of punitive damages. Punitive damages

are particularly warranted here because of HCC’s well-documented past behavior and history of

continuing civil rights violations as alleged in past litigation.




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        55.     As a direct and proximate cause of Defendants’ actions alleged herein, Plaintiff has

suffered damages in the form of past and future lost wages, benefits, career opportunities and injury

to his reputation.

                                             COUNT II
           (Violation of under 42 U.S.C. §§ 1981 and 1983 Against All Defendants)
        56.     Plaintiff incorporates the allegations in Paragraphs 1-55 as if fully set forth herein.

        57.     Plaintiff brings this Count for discrimination based on race in violation of his rights

prohibited by 42 U.S.C. §1981 against all Defendants pursuant to Section 1983.

        58.     Plaintiff is African American and a member of a protected class for purposes of

Section 1981.

        59.     Plaintiff experienced disparate treatment and harassment at the hands of Defendants

because of their intentional discrimination based on race.

        60.     The individual Defendants were each personally involved in the intentionally

discriminatory acts alleged herein, and each acted with malice and in reckless indifference to

Plaintiff’s rights.

        61.     The individual Defendants each had actual knowledge of myriad complaints of

racism by student-athletes and athletic personnel. Each had the authority to investigate and redress

such claims but failed to do so.

        62.     Plaintiff had a contractual relationship with HCC with respect to his employment.

        63.     Defendants took adverse employment action against Plaintiff as alleged herein.

        64.     Plaintiff’s race was a determinative factor in Defendants’ actions.

        65.     Pursuant to Section 1981, Plaintiff may recover both compensatory and punitive

damages, as well as back pay and lost benefits for an unlimited period. See Johnson v. Ry. Exp.

Agency, Inc., 421 U.S. 454, 461 (1975).

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        66.     Defendants’ actions as alleged herein were willful, malicious and done with

reckless indifference to Plaintiff’s federally protected rights, entitling him to recover punitive

damages.

        67.     As a direct and proximate cause of Defendants’ actions alleged herein, Plaintiff has

suffered damages in the form of past and future lost wages, benefits, career opportunities and injury

to his reputation.



                                            COUNT III
         (Retaliation under 42 U.S.C. §§ 1981 and 1983 and Against All Defendants)

        68.     Plaintiff incorporates the allegations in Paragraphs 1-67 as if fully set forth herein.

        69.     Plaintiff brings this Count against all Defendants for retaliation pursuant to Section

1981, which provides in relevant part:

                All persons within the jurisdiction of the United States shall have
                the same right in every State and Territory to make and enforce
                contracts, to sue, be parties, give evidence, and to the full and
                equal benefit of all laws and proceedings for the security of
                persons and property as is enjoyed by white citizens, and shall be
                subject to like punishment, pains, penalties, taxes, licenses, and
                exactions of every kind, and to no other.

        70.     In other words, Section 1981 “prohibits not only racial discrimination but also

retaliation against those who oppose it.” Univ. of Tex. Sw. Med. Ctr. v. Nassar, ––– U.S. ––––, 133

S.Ct. 2517, 2529, 186 L.Ed.2d 503 (2013).

        71.     Retaliation claims are cognizable under Section 1981, regardless of the plaintiff’s

race, to anyone who suffers retaliation because he or she tried to help someone else suffering direct

racial discrimination. See CBOCS West, Inc. v. Humphries, 553 U.S. 422 (2008).

        72.     Plaintiff engaged in opposition to racial discrimination that is protected under the

statute. Coach Smith attempted repeatedly to voice his player’s complaints and concerns to the

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HCC administration, which remained deliberately indifferent to the numerous acts of racial

harassment.

        73.     A reasonable person would find that the challenged actions were materially

adverse.

        74.     A causal connection existed between the protected activity alleged by Plaintiff and

the adverse actions.

        75.     Defendants took adverse employment action against Plaintiff for engaging in

protected activities as defined in Title VI.

        76.     Retaliatory animus played a “motivating part” in the above adverse actions taken

by Defendants.

        77.     There was no legitimate, nonretaliatory reason for Defendants’ conduct.

        78.     As a direct and proximate cause of Defendants’ actions alleged herein, Plaintiff has

suffered damages in the form of past and future lost wages, benefits, career opportunities and injury

to his reputation.

                                               COUNT IV
                                  (Title VI Claim against HCC)
        79.     Plaintiff incorporates the allegations in Paragraphs 1-78 as if fully set forth herein.

        80.     Plaintiff brings this Count against Defendant HCC pursuant to the Civil Rights Act

of 1964, § 601 et seq., 42 U.S.C.A. § 2000d et seq, against Defendant HCC.

        81.     Title VI prohibits recipients, most of which are employers, from discriminating

based on race, color, and national origin. Section 601 of Title VI provides that “[n]o person in the

United States shall, on the ground of race, color, or national origin, be excluded from participation

in, be denied the benefits of, or be subjected to discrimination under any program or activity

receiving Federal financial assistance.” 42 U.S.C. § 2000d.


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        82.     Title VI forbids recipients from discriminating in employment if a primary

objective of the federal financial assistance to a recipient is to provide employment, or when its

employment practices negatively affect the delivery of services to ultimate beneficiaries, here,

student-athletes.

        83.     Plaintiff is a member of a member of a protected class for purposes of Title VI.

        84.     As alleged herein, Plaintiff was subject to harassment based on race, color, or

national origin, which negatively affected his ability to provide required educational services to

HCC student-athletes, the majority of whom are persons of color.

        85.     At all times relevant herein, Plaintiff was engaged in protected activity, including

but not limited to objecting to the football coaching staff’s ongoing racial discrimination and

harassment of African American student-athletes, who confided to Plaintiff concerning the

unlawful conduct to which they were subject, and, on whose behalf, Plaintiff reported the incidents

to the HCC administration.

        86.     Defendants took adverse employment actions against Plaintiff including but not

limited to pressuring him to take a different coaching position at the insistence of Landoll, by

changing his job duties, and by ultimately terminating his employment for engaging in protected

activities as defined in Title VI.

        87.     Defendants intentionally discriminated against Plaintiff based on race.

        88.     In the alternative, these Defendants each had actual knowledge of and were

deliberately indifferent to the hostile environment of racial harassment suffered by Plaintiff and

those African American student-athletes on whose behalf Plaintiff complained of the same.

Defendants took no measures in response despite this.




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        89.     HCC administrators if they had actual notice of the foregoing conduct and did not

take corrective action to end the alleged retaliation.

        90.     As a direct and proximate cause of Defendants’ actions alleged herein, Plaintiff has

suffered damages in the form of past and future lost wages, benefits, career opportunities and injury

to his reputation.

                                             COUNT V
                                (Title VI Retaliation against HCC)
        91.     Plaintiff incorporates the allegations in Paragraphs 1-90 as if fully set forth herein.

        92.     Plaintiff brings this Count for retaliation against Defendant HCC pursuant to the

Civil Rights Act of 1964, § 601 et seq., 42 U.S.C.A. § 2000d et seq.

        93.     Title VI does not specifically prohibit retaliation, but courts generally imply a

private cause of action for retaliation based on the statute’s general prohibition of intentional

discrimination. See Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 173–74, 125 S.Ct. 1497,

161 L.Ed.2d 361 (2005) (Title IX).

        94.     HCC can be liable for retaliation by school administrators if they had actual notice

of the conduct and did not take corrective action to end the alleged retaliation.

        95.     HCC administrators had notice of the complaints alleged above and refused to take

correction action.

        96.     Plaintiff was therefore engaged in protected activity under Title VI and suffered

adverse action contemporaneous with or after such activity.

        97.     Further, there is a direct causal nexus between Plaintiff’s engaging in protected

activity and the adverse employment actions alleged herein.




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        98.     The actions taken by HCC were motivated by racial animus in retaliation for

Plaintiff engaging in protected activity challenging HCC’s racially discriminatory policies and

practices.

        99.     As a direct and proximate cause of Defendants’ actions alleged herein, Plaintiff has

suffered damages in the form of past and future lost wages, benefits, career opportunities and injury

to his reputation.

        WHEREFORE, Plaintiff Enoch Smith prays that this Court conduct a jury trial on his

claims, and enter judgment in his favor and against Defendants as follows:

        A. For compensatory damages in whatever amount may be proven at trial under federal

        law;

        B. For punitive damages in an amount to be proven at trial;

        C. For pre- and post-judgment interest as allowed by law;

        D. For reasonable attorneys’ fees, including non-taxable litigation expenses;

        E. For costs of suit; and

        F. For such further other relief as the Court may deem just, proper, and appropriate.

                                           JURY DEMAND

        Plaintiff requests a jury trial on all issues so triable.

                             DESIGNATION OF PLACE OF TRIAL
        Pursuant to Local Rule 40.2(a), Plaintiff requests trial in Kansas City, Kansas.




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                                   Respectfully submitted,

                                   _/s/ William C. Odle_______________
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